     Case 1:12-cr-00192-LJO-SKO Document 43 Filed 04/10/14 Page 1 of 2


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    JEREMY S. KROGER, Bar #258956
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Counsel for Defendant
6    MICHAEL CHASE STAFFORD
7

8                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                    )   Case No. 1:12-cr-00192 LJO-SKO
                                                  )
12                     Plaintiff,                 )   STIPULATION TO VACATE STATUS
                                                  )   CONFERENCE HEARING AND SET FOR
13           vs.                                  )   CHANGE OF PLEA HEARING; ORDER
                                                  )
14   MICHAEL CHASE STAFFORD,                      )
                                                  )   DATE: April 14, 2014
15                                                )   TIME: 8:30 a.m.
                        Defendant.                )   JUDGE: Hon. Lawrence J. O’Neill
16                                                )
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             IT IS HEREBY STIPULATED by and between the parties through their respective

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     counsel, Assistant United States Attorney, Grant B. Rabenn, counsel for plaintiff, Assistant

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     Federal Defender, Jeremy Kroger, counsel for defendant MICHAEL CHASE STAFFORD, that

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     the hearing currently set for April 21, 2014 before Magistrate Judge Sheila K. Oberto, may be

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     vacated and the matter reset for a change of plea hearing April 14, 2014 at 8:30 a.m. before

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     District Judge Lawrence J. O’Neill.

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             The parties have reached an agreement. The requested change of plea hearing will

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     conserve time and resources for both counsel and the Court. The government has no objection to

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     this request.

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             The parties agree that the time until the change of plea hearing shall be excluded in the

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     interests of justice, including but not limited to, the need for the period of time set forth herein for




     effective defense preparation pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii), (iv).
     Case 1:12-cr-00192-LJO-SKO Document 43 Filed 04/10/14 Page 2 of 2


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2

3
                                                     BENJAMIN B. WAGNER
4                                                    United States Attorney
5
     Dated: April 9, 2014                            /s/ Grant B. Rabenn
6                                                    GRANT B. RABENN
                                                     Assistant United States Attorney
7                                                    Attorney for Plaintiff
8
                                                     HEATHER E. WILLIAMS
9                                                    Federal Defender
10
     Dated: April 9, 2014                             /s/ Jeremy Kroger
11                                                   JEREMY S. KROGER
                                                     Assistant Federal Defender
12                                                   Attorney for Defendant
                                                     MICHAEL CHASE STAFFORD
13

14
                                                    ORDER
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                For the reasons set forth above, the continuance requested is granted for good cause. The
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     Court finds that the interest of justice outweighs the interests of the public and the defendant in a
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     speedy trial, and time is excluded pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and (B)(ii), (iv).
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19   IT IS SO ORDERED.
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          Dated:          April 10, 2014                       /s/ Lawrence J. O’Neill
21                                                        UNITED STATES DISTRICT JUDGE
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     Stafford: Stipulation to Vacate Status
     Conference and Reset for Change of Plea          2
